Case 18-11978

Fi|| in this information to identify your case

Deb\o, 1 ShaWniCe
F»st Name

Debtor 2

DOC 40 Filed 04/06/18

 

(Spouse, if liling) Fm Name made Name

United States Bankruptcy Court for the: Distrlct of Maryland

Case number 18'1 1978

 

 

 

 

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iii check innis is an

("knm) amended filing
Ofl"icial Form 107
Statement of Financial Affairs for lndividuals Filing for Bankruptcy 04/16

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answor every question.
Part 1:

1. What is your current marital status?

D Manied
g Not married

leollotallsAboutYo¢l'|larltolShtucandWhoroYouleodBofon

2. During the last 3 years, have you lived anywhere other than where you live now?

l:lNo

g Yes. List all of the places you lived in lhe last 3 years. Do not include where you live now.

Debtor 1:

6529 Hi|-Mar Drive

 

Number Street

 

 

 

 

 

#203

District Heights MD 20747
city stare ziPcode
4202 58th Avenue

Number Slreet

#212

Bladensburg MD 20710
city state ziPcode

 

 

 

 

 

 

 

Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
USameasDebtorl uSameasDebtorl
From From
Number Slreet ___
To _ To
city stale zlP code
DSameasDebtoH uSameasDebtori
From Fr°m
Number Streei
To To
Cily Slate ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and ten'iton'es include Arizona, Caiifomia, ldaho, Louisiana, Nevada, New Mexiw, Puerto Rico, Texas, Washington, and Wisconsin.)

MNO

a Yes. Make sure you li|l out Schedule H: Your Codebtors (Oflicial Form 106H).

Part 2: Explaln the $oureeo onour income
Ofticial Form 107

Statement of Flnancial Affairs for lndlvlduals Filing for Bankruptcy page 1

Debtor 1

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Shawnice Nicole Privott

 

First Name Midde Nome Last Name

Case number (inmmj 1 8'1 1978

 

 

Ofticial Form 107

Fil| in the total amount of income you received from all jobs and all businesses, including part-lime activities
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

L_.l No
2 Yes. Fill in me details

Debtor 1

Sources of income
Check all that apply.

g Wages, commissions

Debtor 2
Gross income Sources of income
(before deductions and Check all that apply.
exclusions)

3,546.85 a wages, COl’l'\n'llSSlOflS,

From January 1 of current year until . .
the date you filed for bankruptcy: bonuses’ tips s bonuses’ ups
n Operating a business n Operating a business
For last calendar year g Wagos commissionsl n Wages, corrunissions,
' bonuses, tips $ 33,430.50 bonuses, tips
(January 1 to DeCembef 31.2_0 ]1______) n Operating a business cl Operating a business
For the calendar year before that: g wag°s' °°.'"'"'ss'°"$' n Wages‘ °°.m"i`°'si°"s’
bonuses, tips $ 34,331_24 bonuses, tips
(January 1 to Decembe|' 31»2016 a Operaljng a business ____°"'_ n Operating a business

5. Dld you receive any other income during this year or the two previous calendar years?

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?

Gross income
(before deductions and
exclusions)

$

lnclude income regardless of whether that income is taxable Examplee of other income are alimony child support; Social Security,
unemployment and other public beneiit payments; pensions; rental inoome; interest dividends; money collected from |awsuits; royalties; and
gambling and lottery winnings. lf you are filing a joint case and you have income mat you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

g No
L'.l Yes. Fiu in the details

Debtor 1

Sources of income
Deccribe below.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

Debtor 2
Gross income from Sources of income
each mm Descn‘be below.
(before deductions and
exclusions)

 

 

(January 1 to December 31,2£1_7___)
va

 

For the calendar year before that:

 

(January 1 to December 31 ,2016 )
YvYY

 

 

Statement of Flnancial Affairs for lndividuals Filing for Bankruptcy

Gross income from
each source

(before deductions and
exclusions)

 

page 2

 

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Debtor 1 Shawn`ice Nicole Privott
Fir:tNarne Middeltlame LaetName
Part3: Listcer\alnl*aymenthou|l-do!ofore¥oumedforBanlmlptcy

Case number army 18°1 1978

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

m No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are delined in 11 U.S.C. § 101(8) as
“incurred by an ind'widual primarily for a personal, family, or household purpose.'

During the 90 days before you liled for bankruptcy, did you pay any creditor a total of $6,425* or more?

No. Go to line 7.

l;l Yes. List below each creditor to whom you paid a total cf $6,425" or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

Et Yes. center 1 or center 2 or both have primarily consumer dehe.
During the 90 days before you Eled for bankruptcy, did you pay any creditor a total of $600 or more?

Z No. co to line 7.

El Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankmptcy case.

Official Form 107

Creditor’sName

Dates of
Payment

Total amount paid Amount you still owe

 

Number Street

 

 

City State ZiP Code

 

Cmditor's Name

 

Number Street

 

 

City Slaw ZlP Code

 

Creditor's Name

 

Number Slreet

 

 

City State Z\P Code

`Statement of Financial Affairs for lndividuals Flling for Bankruptcy

Was this payment for..

m Morfgase

n Car

L`] credit lam

n Loan repayment

n Suppliers or vendors
cl Other

cl Morfgage

cl Car

l;l credit card

n Loan repayment

a Suppliers or vendors
m Other

n Mortgage

m Car

L_.l cmdlt emi

n Loan repayment

m Suppliers or vendors
n Other

page 3

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mwa Shawnice Nicole Privott

 

F\rstName Middo Name LastNamo

Case number (rnmwn) 184 1978

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
lnsiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an oft'icer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,

such as child support and alimony.

ENo

El Yes. List all payments to an insider.

Dates of
payment

lnslder‘s Name

 

NumberSlreet

 

 

City State ZlPCode

 

lnsider's Name

 

Number Street

 

 

City Slatre ZlPCode

Amount you still Reason for this payment
owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?
include payments on debts guaranteed or cosigned by an insider.
g No
l;l Yes. List all payments that benefited an insider.
Dates of
payment

 

lnsidefs Name

 

NumberStreet

 

 

City State ZIF Code

 

|nsider's Name

 

Number Street

 

 

Ci!y Slate ZlPCode

Amount you still Roason for this payment
°w° include creditors name

Offrcial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

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Debtm Shawnice Nicole
Flst Nsme Midde Name Last Nsme

Privott

Case number (irknown) 18`1 1978

ldendfyLegdAcdun,Repoomimn,pl\dFuodosuns

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List ali such matters, including personal injury cases, small claims actions, divorces collection suits, paternity actions, support or custody modifications

 

 

 

 

 

 

 

and contract disputes.
cl No
E Yes. Fill in the detaile.
Natureofthecase Courtoragancy Statusofthecase
Judgment . .
ease due Land|ord Tenant _ gfm Coun of Maryiand 3 Pending
Bemstein Management a on appeal
Group, lNC
VS Number street n Concluded
Case numbe, 050200372292012 PriVth. ShaWniCe N
city stare zlP code
Case due own m El Pending
n On appeal
Number street Cl condoned
Case number
City Siaie ZlP Code

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, gamished. attached, seized, or ievied?

Check all that apply and fill in the details beiow.

El No. co to line 11.
E` Yes. Fill in the information below.

Describe the property Date

Navy Federai Credit Union Savings

Bemstein Management Group, iNC Account

 

 

 

 

Creditor's Name

2095 Chain Bridge Road

Number Street

Vienna VA 22182
City State ZiPCode

" Patrick M. Conne|iy

 

 

 

 

Creditor‘s Name

30 Courthouse Square

Number Street

#400

Rockvii|e MD 20850
City State ZlPCode

Officiai Form 107

Explain what happened

Cl Property was repossessed

Ei Property was foreclosed

n Property was gamished.

U Property was attached seized or levied

Describe the property Date

Expiain what happened

El Property was repossessed

El Property was foreclosed

cl Property was gamished.

n Property was attached, seized, or |evied.

Statament of Financlai Affairs for individuals Fiiing for Bankruptcy

Value of the property

Value of the property

page 5

 

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Shawnice Nicole Privott ease nl,,,,,,e,(,,,,;,,(,,.,,,18-11978

Debtor1
l=li=tnane wisconsin mcmann

11. Within 90 days before you filed for bankmptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

ENo

Ei Yes. Fill in the deere

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditofs Name
$
Number Slreet
City slate zlP code Last 4 digits of account number. XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another ofticia|?

.No
DYes

Part 5: Llst¢erhlnGil'teandconhhutlone

13.W'lthin 2 years before you filed for bankruptcy, did you give any gifts with a towl value of more than $600 per person?

g No
Cl Yes. Fill in the details for each gin.

 

 

 

 

Giits with a total value of more than $600 Describe the gifts bates you gave Value
per person the gifts
Person to Whom You Gave the Giit $
$
Number Sd'eet
City Staie ZlP Code

Person’s relationship to you

 

 

 

 

Gilb with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
PersontoWhornYouGaveiheGift $

$
Number Street
city sane zlP code
Person’s relationship to you

Ofiiciai Form 107 Statement of Financlal Affairs for individuals Fiiing for Bankruptcy page 6

 

 

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Debtor 1 Shawnice NiCOle Privott Case number (lmovm) 18`1 1978
l=lmneme Mwleue¢iie miami

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
g No

El Yes. Fill in me delaile for each gin or eennibuiien.

 

 

 

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
$
Charity's Name
$
Number Street
city Sfate zlP code

Part 6: Listcortelnloeses

 

15, Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, ire, other
disaster, or gambling?

MNo

Cl Yes. Fill in me dewils.

Descrlbe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
lost

how the loss occurred
include the amount that' lnsurance has paid. List pending' insurance

claims on line 33 of ScheduIeA/B: Property.

must¢ertelnl’aymonteor‘l`rlnsfers

16 Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy

a No
C] Yes. Fili in me details

 

 

 

 

 

Description and value of any property transfen'ed Date payment or Amount of payment
transfer was
Person Who Was Paid made
Number Street $
$
Cl'ty Stata ZlF Code
Emai| or website address

 

PersonWhoMadethePayment,ifNotYou

Of|icial Form 107 Statement of Financia| Affairs for lndlviduals Fiiing for Bankruptcy page 7

 

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Deb,,,n Shawnice Nicole Privott ease number(,.,,mm, 18-11978
Fint Name Midde Neme last Name

Descn'ption and value of any property transferred Date payment or Arnount of
transfer was made payment

 

 

 

 

 

Person Wha Was Paid

$
Number Street

$
city slate DP code
Email or website address

 

 

PersonWhoMadeltlePayment,ifNotYou

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

El Yes. Fill in the derails.

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
$
city state ZlP code

18. Within 2 years before you hled for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
De not include gifts and transfers that you have already listed on this statement
M No
Cl ves. Fill in the details

Description andvelue ofproperty Describeanypropertyorpaymenfsreceived Datetransfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City Sfafs ZlPCode

Person’s relationship to you

 

Person Who Received Transter

 

Number Street

 

 

City Swte ZP Code

Person’s relationship to you

Oflicial Form 107 Statement of F|nancial Affairs for individuals Fiiing for Bankruptcy page 8

 

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penton Shawnice Nicole Privott ease numbemm)13.11973
First Narne Midda Name best Neme

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self~settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

g No
El vee. r-ill in the details

Description and value of the promrty transferred Date transfer
was made

Name of trust

 

uncomhnmeuneeemu,meu¢o¢punmadwunrh

20. Within 1 year before you filed for bankruptcy, were any financid accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage housesl pension funds, cooperatives associations, and other financial institutions

g No
El Yes. l=lll in me details
Last 4 digits of account number Type of account or Date account was Last balance before

instrument closed, sold, moved, closing or transfer
or transferred

 

flame of Flnanclal lnstltudon
Xxxx_ n Checking $

Number street n Savings
n lloney market

DBrokerage
City Sfate ZlPCode am r

 

 

 

XXXX-_________ Uchecking $
uSavings

Number Stmn n Money market

 

 

Name of Finenciai lnsitution

 

n Brokerage
Cl other

 

 

City State ZlFCode

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

g No
Cl Yes. Fill in die details

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
n No
Name or Flhanelal lileuiuuen gm n Yes
Number Sh¢f Numb" m
City State ZP Code

 

City State ZlP Code

Officia| Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 9

 

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Debtor 1 Shawnice Nicole Privott ease numbe, (.-,,,,,.,,,,,,, 18-1 1978
Fiml Name Midde Name LB$\ Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
a No
El Yes. Fill in the details.

 

 

Whoelsehasorhadaccesstoit? Descrlbethecontenfs Doyoustiii
have lt?
n No
Name of Storage Faclllty flame u Y°s
Number Streot Number Street

 

Cltyshte ZlPCode

 

Clty Shte DPCode

m ldolt|fyhoportyYoulloldor¢o-tml|or$olloono§oo

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
g No
n Yes. Fill in the details. `
Where is the property? Descrlbe the property Value

 

 

 

 

 

 

 

Wner’s flame s
` ` Stroot

Number Stroet
City State ZlP Code

City Stafe ZlPCode

Part 10: Nnbotalbhbolthvbon-olrhlhlorl\atlon

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

Site means any iocation, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report ali notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

ElNo

m Yes. Fill in the details.

 

 

Govemmenta| unit Environmental law, if you know lt Date of notice
Nama of site Govemmental unit
Number Swet Number Street
City Stats ZlP Codo

 

 

clly stare zll> code

Officia| Form 107 Statement of Flnanclal Affairs for individuals Fiiing for Bankruptcy page 10

 

 

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Debtor 1 Shawnice Nicole Privott case number <lm, 18-1 1978
Fl|St Name Midde Name Laat Name

25. Have you notified any governmental unit of any release of hazardous material?

 

 

 

 

n No
El ves. Fill in me details. \
Governmentd unit Environrnenhl law, if you know it Date of notice
Name of site Govornmontal unit
Number Stnet Number Strodt
City Sfate ZlP Code
City Stato ZlP Codo

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

ZNo

El Yes. Fill in me devils.

 

 

Court or agency Nature of the case S of the
case
Case title
a Pending
n On appeal
Number Stroet n Co|'lduded
Cm "“mb°' W_~*~m

leohotdlslbout¥o'luohoooor¢o_octlonstohqluohooo

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, professionl or other activity, either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership
a An ofiicer, director, or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation

g No. None of the above applies. Go to l’art 12.
a Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employcr identification number
Do not include Social Security number or lTlN.

 

Business Name

 

 

 

 

E|N: ___ _ - _______
Number Stroet
Name of accountant or bookkeeper bates business existed
From To
city stare zlP code
Desr:ribe the nature of the business Employer ldentlhcatlon number

Do not include Social Security number or lTlN.

 

 

 

 

ElN ___-_____________
Number Street
Name of accountant or bookkeeper Dates business existed
From To
city sure zlP code

Officiai Form 107 Statement of Financial Affalrs for individuals Fiiing for Bankruptcy page 11

 

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Debwr 1 Shawnice Nicole Privott Case number (ykrm) 18"1 1978
Fil!! Name m Name LBSt Nlm¢

Employer nomination number

Describe the nature of the business
Do not include Social Security number or lTlN.

 

 

 

EiN' ___-_____________
Number Name of accountant or bookkemr Dates business existed
From To

 

 

 

city saw zchoue

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

ENo

El Yes. Fill in the details below.

Date issued

 

Name wlDD/YW¥

 

Numberstnet

 

 

Ciiy Sta‘ie ZPCode

m»--

i have read the answers on this Statement of Financial AHairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankmptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

smande 1 signature of sewer 2

pate U’O(p "2:1 )i% pate

2 Did you attach additional pages to your Statement of Financial Affairs for lndividuals Filing for Bankruptcy (Ofiiciai Form 107)?

ENo

El Ves

 

Did you pay or agree to pay someone who is not an attorney to help you till out bankruptcy tonns?

MNo

El Yes. Name of person . Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Oii‘icia| Form 119).

Ofiicial Form 107 Statement of Financial Affalrs for individuals Fiiing for Bankmptcy page 12

